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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MICHAEL FAULK,                                   )
                                                 )
                 Plaintiff,                      )
                                                 )       Case No. 4:18-CV-308
v.                                               )
                                                 )
CITY OF ST. LOUIS, et al.,                       )
                                                 )
                 Defendants.                     )


                    DEFENDANT LT. COL. LAWRENCE O’TOOLE’S
                 MOTION TO DISMISS COUNTS I, II, V, VIII, IX, X AND XII
                   OF PLAINTIFF’S FIFTH AMENDED COMPLAINT


       COMES NOW Defendant Lt. Col. Lawrence O’Toole (“O’Toole”) and moves this Court

to dismiss Counts I, II, V, VIII, IX, X and XII for failure to state a claim upon which relief can

be granted under Federal Rule of Civil Procedure 12(b)(6) (“FED. R. CIV. P. 12(b)(6)”). In

support, O’Toole states the following:

       1.        Plaintiff fails to state a claim in Counts I, II, V, VIII, IX, X and XII of his Fifth

       Amended Complaint (doc. 126) against Defendant O’Toole upon which plaintiff may

       obtain relief from this Court or any other. FED. R. CIV. P. 12(b)(6).

       2.        Taking plaintiff’s allegations against O’Toole as true, and construing those

       allegations in a light most favorable to plaintiff, plaintiff fails to sufficiently allege facts

       entitling plaintiff to relief. Kottschade v. City of Rochester, 319 F.3d 1038, 1040 (8th

       Cir. 2003).

       3.        Defendant O’Toole submits herewith a memorandum in support of his motion,

       which sets out the relevant arguments and citations to authority on which Defendant

       relies.
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       WHEREFORE, Defendant O’Toole prays the Court grant his Motion to Dismiss for

Failure to State a Claim with prejudice, and for any further relief the Court deems just and

reasonable.

                                                   Respectfully submitted,

                                                   JULIAN BUSH,
                                                   City Counselor

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                                                  Attorneys for Defendants


                                CERTIFICATE OF SERVICE

       I hereby certify that on March 30, 2020 the foregoing Motion was served via the Court’s

electronic filing system upon all counsel of record.

                                                       /s/ Erin K. McGowan
